                                     Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 1 of 45



 :::4~t::~Jlfo~""°" ooomi"'d horei• "~h~~I: ~,~;~~,~~!!:~iwofpleodm&' moll(of~lerk~:~0,::~i~\eidod
 by local ru1s of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
 the civil do.cket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
                                                                                                                                                                                                                              of Court for the purpose of initiating


 I.    (a)
Steven R~ese
               Pf.,AINTIFFS                                                                                                DEFENDANTS

                                                                                                                            Waterford Hotel
                                                                                                                                                                                                                    6                                 5446
       (b) Cpunty of Residence of First Listed Plaintiff                                                                   County of Residence of First Listed Defendant
                                       (EXCEPT lN U.S. PLAINTIFF C                                                                                                  (JN U.S. PLAINTIFF CAS
                                                                                                                                                                                                                               ......
                                                                                                                                    NOTE: IN LAND CONDEMNATION CASES, US
                                                                                                                                                 LAND INVOLVED.


       ( c) A*orney's (Finn Name, Address, and Telephone Number,.___                                                        Attorneys (lfKnown)

Gal lag he Law Group, PC, 1055 Westlakes Drive, 3rd Fl                                                                                                                                                                                      .,._,
610-647- 027                                                                                                                                                                                                                                =
                                                                                                                                                                                                                                            ;;::
 II.     BAS~S OF J U R I S O IN                              (Place an "X"   111   One Box Only)          III. CITIZENSHIP OF PRINCIPAL PAR\f:IES<PBan "X" in One Box for Plaintiff
                                                                                                                  (For Diversity Cases Only) . ::::.~ l3n4 One Box for Defendant)
 OJ        U S ovemment                         !!§ 3   ederal Quest10n                                                                                  PTF              DEF                                 . ~.......                    I                  PTF      DEF
              Pl mtiff                                   (US Goverrunent Not a Pmty)                           Citizen of This State                     0 I              0 I                Jncorpork&ltbr Prins;p;\I Place                                    0 4     0 4
                                                                                                                                                                                             of Busin:e~s1lq This                           srm
                                                                                                                                                                                                         .·-o
 02        US. eovernment                       0       D1vers1ty                                              Citizen of Another State                  0 2               0         2       Incorpdrated.lJlnd PriJJ)al Place                                  0   5    0 5
              D fondant                                   (Indicate Citizenship of Parties in Item Ill)
                                                                                                                                                                                                ofBu~ipess In An<J.tlw State
                                                                                                                                                                                                         .... ,,,
                                                                                                               Citizen or Subject of a                   0                 0         3        Foreign Nation                                                    0   6    0 6
                                                                                                                                                                                                                                                (j1
                                                                                                                 Foreign Coun


                                                                                                                                                                    FBANRRtl
 0     l 10 lnsunance                     PERSONAL INJURY                                                                                                      0 422 Appeal 28 USC 158                                                      0 400 State Reappmtionment
 0    120 Marf:· e                    0 310 Airplane                            0       362 Personal lnju1y -                                                  0 423 Withdrawal                                                             0 4 l 0 Antitrust
 0    130 Mill r Act                  0 315 Airplane Product                                Med. Malpractice                                                                   28    use 157                                                0 430 Banks and Banking
 0
 0
      140 Neg tiable Instrument
                                            I Liability
      150 Rec very of Ovef]tlyi.hent 0 320 Assault, Libel &
           &En orcementofJudgment             Slander
                                                                                0

                                                                                0
                                                                                       365 Personal Injury -
                                                                                            Product Liabilih· ~1                                              ...:'"'otc"'<P""-R"'O"'P"'E""-"'·r"':15"',;n."'.
                                                                                                                                                                0 820 Copyrights
                                                                                                                                                                                                                           1¥"'1fT...,fH b
                                                                                                                                                                                                        · "'IG""H"'m"".""'s>""
                                                                                                                                                                                                                                            0 450 Commerce
                                                                                                                                                                                                                                        460 Deportation
                                                                                                                                                                                                                                         0
                                                                                                                                                                                                                                        4 70 Racketeer Influenced and
 0    151 Med care Act       :···     0 330 Federal Employers'                         lnj111y Pi·odnct                                                         0 830 Patent                                                                 Corrupt Organizations
 0    152 Rec very of Defaulted         .     Liability                                Liability                                                                 0 840 Trademark                                                         0
                                                                                                                                                                                                                                        480 Consumer Credit
           Stud nt Loans     [        o'· 340 Marine                             PERSONAL PROPERTY                                                                                                                                  0 490 Cable/Sat TV
           (Exe . Veterans)           0 345 Marine Product                      0 3 70 Other Fraud             ____ ---·-·                                                                                                          0 810 Selective Service
 0    I 53 Rec ve1y of Ovef]¥iyi\icnt         Liability                         0 371 Truth in Lending            . f¢{' -l--S%'$1 <iJ\llBOR<>· '":' -...,,
                                                                                                                       1                                                                                                       <IA p 850 Securities/Commodities/
           ofV teran's Beneftts.-·    0 350 Motor Vehicle                       0 380 Other Personal           0 710 Fair Lab.,r Standards                                                                                          ,        Exchange
 0    160 Stoc holders' Suit~.        0 355 Motor Vehicle                              Propeity Damage                     Act                                                                                                      i:J 875 Customer Challenge
 0    I 90 0th r Conu·act    <.                                                 0 385 Property Damage          0 720 Labor/Mgmt. Relations                                                                                                   12 USC 3410
 0    195 Con act Product Jilability                                                   Product Liability       0 730 Labor/Mgmt. Reporting                                                                                          0 890 Other Statutory Actions
 0    196 Frm hise                                                                                                   & Disclosure Act                                                                                               0 891 Agricultural Acts
     ,:fili)tYREJAlilP.Aol!E-&lli::fili)V                                           -:l!RISONE ·               0 740 Railway Labor Act                                                                          •Jr                 P 892 Economic Stabilization Act
 0 210 Lan                                                                      0      510 Motions to Vacate   0 790 Other Labor Litigation                      870 Taxes (U.S. Plaintiff                                          b 893 Environmental Matters
                                                                                           Sentence            0 791 Empl. Ret. Inc.                                  or Defendant)                                                 b 894 Energy Allocation Act
 0    230 Ren~Lease & E.jectmenl                                                       Habeas Corpus:                Security Act                              0 871 IRS-Third Party                                               b &95 Freedom oflnformation
 0    240 To11 to Land                                                          0      530 General                                                                   26 USC 7609                                                             Act
 0    245 To11 Product Liability                                                0      535 Death Penalty                   IMMWR:A'tl!i>~tT?'                                                                                      p 900Appeal of Fee Detennination
 0    290 All ther Real Property                                                0      540 Mandamus & Other    0-462 Naturalizaffon Application                                                                                              Under Equal Access
                                                    Employment                  0      550 Cl\'ll Rights       0 463 Habeas Corpus -                                                                                                         to Justice
                                            0    446 Amer. wtDisabilities - [J         555 Prison Condition         Alien Detainee                                                                                                 'O 950 Constitutionality of
                                                    Other                                                      0 465 Other Immigration                                                                                                       State Statutes
                                            0    440 Other Civil Rights                                             Actions




                                  (Place an "X" in One Box Only)                                                                                                                                                                                             Appeal to District
                              0 2 Removed from                      0 3 Remanded from                                                             Transferred from                           0 6 Multidistrict                                               Judge from
                                                                                                          O 4 Reinstated or 0                5 another district                                             Litigation                  !
                                                                                                                                                                                                                                                      0 7    Magistrate
                                       State Court                            Appellate Court                  Reopened                           r soecif.;\                                                                                                Judgment
                                                    C~2tTIS'c f~f~ft~tu~~q?eVi:JPffilY~na(f i\}/~ait~Y fiMU~i~~tdictional statutes unless diversity):                                                                                   '
                USE OF ACTION                       Brief description of cause·

 VII.        Rf;QUESTED IN                          0    CHECK IF TI-l!S IS A CLASS ACTION    DEMAND$                                                                                 CHECK YES only if                                                     in complaint:
           COMPLAINT:                                    UNDER F RCP 23                  150,000.00                                                                                   JURY DEMAND:                                      i                       ONo

 VIII.        JlELATED CASE(S)
                  ANY                                                                                                                                                 DOCKET NUMBER

 DATE
                                                                                                                                                                                                                                                                        /{     ~


 FOR OFFICE LISE ON

     RECEIP1r #                         AMOUNT                                                                                               JUDGE                                                            MAG. JUDGE
                             Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 2 of 45
                                                                     UNITED STATES DISTRICT COURT                                                                       APPENDIXF

FOR THE ~ASTERN DISTRICT OF PENNS                                   IGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignmept to appropriate calendar.

Addressof Plaintiff_:_307          Independence Road King of Prussia, PA 19406

AddressofDefendant: _ _ 914              Hartford Turnpike, Waterford, Ct. 06385
                                                                                                                                                16              5446
Place of A)::cident, Incident or Transaction:__,C"'o""'n-"'s"'h""o"'h"'o""ck.,,e..,n..___ _,_._P.LA,___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __            (Use Reverse Side For Additional
Space)

Does this t·vil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10%
 (Attach       o copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))_                                          YesD

Does this ase involve multidistrict litigation possibilities?


RELATbl/) CASE, IF ANY:
Case Number:          NA                           judge                                         Date Terminated:


Civil caseS. are deemed related when yes is answered to any of the following questions:

1. Is this dase related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                           YesD     Nol:RJ
2. Does t1·s case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action· this court?                                                                                                   YesD Nol:RJ
3. Doest is case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      termin ted action in this court?                                                                                                     YesD     Nol:RJ


CIVIL: (Plice _in ONE CATEGORY ONLY)
A. Feder I Question Cases:                                                                                       8. Diversity jurisdiction Cases:

 1.    D    I demnity Contract, Marine Contract, and All Other Contracts                                         1.   D Insurance Contract and Other Contracts
 2.    D                                                                                                         2.   D Airplane Personal Injury
 3.    D Jtnes Act-Personal Injury                                                                               3.   D Assault, Defamation
 4.    D                                                                                                         4.   D Marine Personal Injury
 5.    D                                                                                                         5.   D Motor Vehicle Personal Injury
 6.    D ljabor-Management Relations                                                                             6.   D Other Personal Injury (Please specify)
 7.    D                                                                                                         7. D      Products Liability

 8.    D                                                                                                         8.   D    Products Liability - Asbestos

 9.                                                                                                              9.   All other Diversity Cases

10. ILJ Scl\!.ial Security Review Cases                                                                                 (Please specify)

11. I    _.A_J__   111 other Federal Question Cases -FMLA. 42 USC 1981
         (Pl~ase/specify)




                                                                                                                                                      OCT 17 2016.
                            Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 3 of 45

.,.....,..   1ohn A. Gallagher                   BM      . ;~
                                                           ~
                                                                C!RBITRATION CERTIFICATION
                                                                    (Check appropriate Category)
                                                                    , counsel of reco_pd'ilo hereby certify:




DATE:        IJ-U/.ll!J.U
                                                                                                                    Attorney l.D.#

                                                                                        ·.~re     has been compliance with F.R.C.P. 38.

I certify ti.lat, to my knowledge, the within case is not rel
except as !noted above.

DATE:        I 10/17/16                                                                            212.14
                                                                                                                    Attorney J.D.#
          Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 4 of 45



                             QN    UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                         CASE MANAGEMENT TRACK DESIGNATION FORM




STEVEN A. REESE
                                                                                         16                             5448
                          Plaintiff                            CIVIL ACTION NO.:
                                                                                                                     ~
        v.                                                                                                           ;;::
                                                                                                                     C?
                                                                                                       .1• , ~;i     c->
                                                                                                                     --4
                                                                                                ., ~-:J
WATERFORD HOTEL GROUP, INC.                                                                      } (')
                                                                                                )                    --'
                 and                                                                       1·)~'i,\ll                u
WATERFORD GROUP, L.L.C.
                                                                                            ...-- ..
                                                                                                     ',...;..;c..
                                                                                                                      -..
                                                                                                                      (J1
                                                                                                                      --'
                 and

MARY CULBERT

                 and

PETER CAMP ANINI

                 and

JUDITH MORAN
                         Defendants                              JURY TRIAL DEMANDED


In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall
complete a case Management Track Designation Form in all civil cases at the time of filing the complaint and
serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of this form.) In the event
that a defendant does not agree with the plaintiff regarding said designation, that defendant shall, with its first
appearance, submit to the clerk of court and serve on the plaintiff and all other parties, a case management
track designation form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255.                                                      ( )

(b) Social Security- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits                                                           ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.                              ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
   exposure to asbestos.                                                                                                    ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are                                 0CT 17 2016
    commonly referred to as complex and that need special or intense management bv
           Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 5 of 45


   the court. (See reverse side of this form for a detailed explanation of special
   management cases.)                                                                                            ( )
                                                                             /




                                                                                                         0
(f) Standard Management- Cases that do not fall into any one of the oth



Date                                  Attorney-at-law                         Attorney for
10/17/16                          John A. Gallagher, Esq.                           Plaintiff

Telephone                              FAX Number                                -Mail Address
610-647-5027                           610-64 7-5024                                   j ag@johnagallagher.com
                Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 6 of 45


~"\~~
                            IN THE UNITED STATES DISTRICT COURT FOR
                             THE EASTERN DISTRICT OF PENNSYLVANIA


        STEVEN A. REESE                                                             16                          5446
                              Plaintiff                        CIVIL ACTION NO.:

               V.                                                                                     .......
                                                                                                      =
                                                                                                      c;::
        WATERFORD HOTEL GROUP, INC.

                      and
                                                                                          .o
                                                                                          '
                                                                                           )()
                                                                                       "",.: fij
                                                                                                 .    -
                                                                                                      C'.)


                                                                                                      "
                                                                                                       _J

                                                                                                 CJ
                                                                                                       u
        WATERFORD GROUP, L.L.C.                                                       ,,..,.,,

                                                                                                        U1
                                                                                                        ....J
                      and

        MARY CULBERT

                      and

        PETER CAMP ANINI

                      and

        JUDITH MORAN
                              Defendants                         JURY TRIAL DEMANDED


                                                 COMPLAINT

               Plaintiff, Steven A. Reese, by and through his undersigned counsel, the Gallagher Law

        Group, P.C., files this Complaint against defendants, Waterford Hotel Group, Inc., Waterford

        Group, L.L.C., Mary Culbert, Peter Campanini and Judith Moran, and in support thereof avers:

                                                JURISDICTION

               1.      The Court has jurisdiction over this matter by its authority to hear cases arising

        under the laws of the United States pursuant to 28 U.S.C. §§ 1331, and the specific jurisdictional

        provisions found within the Family and Medical Leave Act of 1993, 29 U.S.C. §§2601 et seq.,

        ("FMLA"), the Americans With Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et
          Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 7 of 45




seq., Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§2000e, et seq., and the

Equal Rights Act of 1866, as amended, 42 U.S.C. §§1981, et seq.

        2.      Plaintiff is in addition to the aforementioned federal claims seeking recovery

under Pennsylvania's Human Relations Act of 1955, as amended, 43 Pa.C.S. §§951to963.

        3.      The Court has jurisdiction over the state law claim(s) set forth herein pursuant to

28 U.S.C. §1367(a), as same is/are closely related to the claims in the action within the Court's

original jurisdiction.

        4.      Plaintiff has exhausted his administrative remedies, as he dual-filed a Charge of

Discrimination with EEOC on January 14, 2015, alleging discrimination/retaliation based upon

disability, race, color and national origin against and Marriott, and more than a year has passed

since that filing.

        5.       Insofar as his state law-based discrimination claims are concerned, plaintiff

waited more than 1-year from the date of his dully-filed Charge before initiation this action.

                                        VENUE

        6.       Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C.S.

§139l(b) because, inter alia, 1) all, the substantial majority of or at a minimum most of

plaintiff's claims arose in the Eastern District of Pennsylvania.

                                           THE PARTIES

             A. Plaintiff

        7.       Plaintiff, Steven A. Reese is an adult individual residing at 307 Independence

Road King of Prussia, PA 19406.

        8.       During all times material hereto, plaintiff was employed at the Residence Inn by

Marriott located in Conshohocken, Pennsylvania ("RIBM").

        9.       Plaintiff commenced employment at RIBM on or about March 26, 2012.
                                                   2
         Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 8 of 45




        10.        During times material hereto, plaintiff was employed as the full-time Night

Auditor at RIBM.

        11.        Plaintiff's last day of work at RIBM was October 2, 2014.

              A.        Mr. Reese is an Employee Covered by the FMLA

        12.        Plaintiff had been employed by the Waterford defendants for more than 12

months and had worked more than 1,250 hours during the 12 months preceding his FMLA-

covered leave(s).

        13.        Accordingly, he is a covered "employee" as that term is defined at §2611(2) of

FMLA.

        14.        At all times relevant hereto, plaintiff was eligible for FMLA leave, having not

exhausted his rights thereto during the 12 months preceding his termination.

              B. The Waterford Defendants

                   i.      Corporate Information and Operations of Waterford Hotel Group, Inc.

        15.        Waterford Hotel Group, Inc. ("WHG") was formed via an incorporation in the

state of Connecticut on October 2, 1984.

        16.        WHG is a corporate business entity registered and licensed to do business in

Pennsylvania with its principle place of business located at 914 Hartford Turnpike, Waterford,

Ct. 06385.

        17.        On its Website, waterfordhotelgroup.com, WHG proclaims, "Waterford Hotel

Group is an independent, third-party hotel management company and approved operator for

major hotel brands including Marriott, Hilton and Starwood ... We have years of experience

operating under such well-known flags as Marriott, Hilton, Sheraton, Radisson, Holiday Inn,

Homewood Suites, Residence Inn, Courtyard, and Comfort Inn."

                   ii.        Corporate Information and Operations of Waterford Group, L.L.C.

                                                     3
            Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 9 of 45




        18.      Waterford Group, L.L.C. ("WGL") was formed via an incorporation in the state

of Delaware on February 2, 1999.

        19.      On September 21, 1999, WGL incorporated in the state of Connecticut.

        20.      WGL is a corporate business entity registered and licensed to do business in

Pennsylvania with its principle place of business located at 914 Hartford Turnpike, Waterford,

Ct. 06385.

        21.      On the WHG Website, WGL is described as "a group of companies and

partnerships specializing in the development, ownership, and management of hotel, venue, and

gaming projects."

                 ii.     WHG and WGL Constitute a Single, Integrated Enterprise and are
                         Indistinguishable from One Another

        22.      During all times material hereto, WGH was a wholly-owned subsidiary of WGL.

        23.      An examination of information available from the Connecticut Secretary of State,

waterfordhotelgroup.com and public records discloses that WGL and WHG share the same:

        •     Address:                                     914 Hartford Turnpike, Waterford, Ct. 06385

        •     Phone Number:                                860-442-4559

        •     Telefax Number:                              860-437-7752

        •     Website:                                     waterfordhotelgroup.com 1

        •     Employee e-Mail format/suffixes:              1st initiallastname@waterfordgroup.net

        •     Principal:                                    Len Wolman

        •     Chairman and CEO:                             Len Wolman

        •     Principal and Director:                       Mark Wolman

         Although WGL sometimes identifies its Website as waterfordgroup.net, that address "points" to
waterfordhotelgroup.com. The waterfordgroup.net domain is however used in connection with the e-mail addresses
of all WHG employees (first initiallastname@waterfordgroup.net).



                                                       4
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 10 of 45




       •     President and COO:                         Robert Winchester

       •     Chief Financial Officer:                   Alan Angel

       •     President and COO:                         Robert Winchester

       •     V .P. of Acquisitions & Development:       Gary Avigne

       •     Chief Financial Officer:                   Michael Heaton

       •     V.P. Human Resources:                      Judith Moran

       •     V .P. Sales & Revenue Management:          Karen Bachofner;

       •     V.P. Constr., Eng. & Tech. Services:       John Delgross

       •     V.P. Information Technology:               Michael Scott

       24.      Plaintiff believes, and therefore avers, that WGL and WGH share the same, or

predominantly the same, members on their respective Boards of Directors.

                 iii.   The Waterford Defendants Constitute Plaintiff's Joint Employer

       25.       In a press release issued in or around November 2011, WHG declared that it

"offers centralized accounting, financial reporting, strategic marketing, human resources, and

day-to-day operations management systems to increase market share and profitability at all

properties."

       26.       The following facts are among many that exist which demonstrate that WGL and

WHG exercised complete and total dominion and control over RIBM's day to day operations,

and over employees who worked at RIBM, including plaintiff, and co-determined matters

governing the essential terms and conditions of plaintiffs employment such as those relating to

compensation, benefits, response to employee complaints and hiring/firing decisions, and were

therefore plaintiffs joint employer:




                                                    5
       Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 11 of 45




              a. Defendant Judith Moran is presently, and was at all material times hereto,
                 identified on Waterford Group, L.L.C. 's Website as its Vice President of
                 Human Resources;

              b. During the first half of2014, Ms. Moran evaluated the benefits paid to RIBM
                 employees, amended Waterford policies insofar as employee's entitlement to
                 benefits were concerned, and conducted an audit of hours worked by
                 employees who worked at RIBM;

              c. In early July of 2014, Ms. Moran issued reports to all RIBM employees in
                 which she:

                   L    Announced Waterford's new policy - that only employees who worked an
                        average of at least 30 hours per week would be entitled to company
                        benefits; and,

                   IL   Provided each employee with her findings as to how many hours per week
                        her audit had found they had worked during the first 56-months of2014.

              d. In just such a letter, Ms. Moran advised plaintiff, inter alia, that he had in
                 between January and July 2014 worked an average of 41.87 hours per week;

              e. on July 15, 2015, a Position Statement was filed with EEOC by "Respondent
                 Waterford Hotel Group" ("WFPS"). The WFPS asserts that, in response to an
                 issue raised by plaintiff just weeks before his employment terminated,
                 defendants Culbert and Campanini, "made a conference call to Judy Moran [
                 ], Waterford's Vice President of Human Resources.";

              f.   The Position Statement notes that soon thereafter, Ms. Moran called Mr.
                   Reese in an effort to schedule a meeting with him and RIBM management in
                   order to discuss his continuing employment;

              g. Defendant Mary Culbert (RIBM's General Manager), testified at plaintiffs
                 unemployment hearing that she was in continual contact with Ms. Moran
                 concerning plaintiffs employment issues during the weeks that preceded the
                 cessation of same;

              h. An October 16, 2014 letter sent to plaintiff in which he was informed "[w]e
                 are writing to accept your voluntary resignation" was prepared on Waterford
                 Hotel Group, Inc. letterhead and signed by Ms. Moran above the designation
                 "Vice President of Human Resources."

       27.    At all times material hereto, WHG and WGL collectively exercised dominion and

control over material aspects of plaintiffs day-to-day employment activities.




                                                6
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 12 of 45




       28.      As the aforementioned facts demonstrate, at all times material hereto, WHG and

WGL collectively created, maintained and enforced employment policies and practices that

plaintiff was required to follow throughout his employment.

       29.     As the aforementioned facts demonstrate, at all times material hereto, WHG and

WGL collectively made and instituted decisions concerning the terms and conditions of

plaintiffs job duties and responsibilities.

       30.     At all times material hereto, WHG and WGL collectively made and instituted

decisions concerning the terms and conditions of plaintiffs compensation and benefits.

       31.     As the aforementioned facts demonstrate, at all times material hereto, WHG and

WGL collectively made and instituted decisions relating to the hiring, promotion, demotion,

discipline and/or termination of plaintiff and his co-workers.

       32.     At all times material hereto, WHG and WGL collectively made and instituted

decisions relating to creating, applying and/or enforcing personnel policies and practices

applicable to employees who worked at the RIBM including, and most particularly, plaintiff.

       33.     At all times material hereto, WHG and WGL collectively made and instituted

decisions concerning whether state and federal employment laws/regulations applied to various

situations involving employees who worked at RIBM including, and most particularly, plaintiff.

       34.     As the aforementioned facts demonstrate, at all times material hereto, WHG and

WGL collectively made and instituted decisions to abide by and/or ignore state and federal

employment laws/regulations in various situations involving employees who worked at RIBM.

       35.     WHG and WGL managed and/or operated all material aspects of the RIBM,

including but not limited to personnel decisions relating to plaintiff and his co-workers.

       36.     WHG and WGL will wherever appropriate be referred to herein as "Waterford."



                                                 7
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 13 of 45




             C. The Waterford Defendants are an Employer Covered by the FMLA

       37.      At all times during the relevant period, Waterford employed more than 50 persons

within a 75-mile radius of plaintiffs work location(s).

       38.      Accordingly, Waterford was at all relevant times a covered "employer" as that

term is defined at §2611(4)(A)(i) of the FMLA.

             D. Individual Defendant Peter Campanini

       39.      Defendant, Peter Campanini is an adult individual, United States citizen and,

plaintiff believes, a resident of the Commonwealth of Pennsylvania whose personal residence is

unknown to plaintiff.

       40.      Mr. Campanini was at all times material hereto the Front Desk Manager at RIBM,

and was plaintiffs immediate supervisor.

       41.      At all times material hereto, Mr. Campanini:

                a. created, delivered, explained and enforced employment policies applicable to
                   plaintiff and similarly situated RIBM employees who provided front desk
                   services;

                b. prepared the weekly work schedules governing plaintiff and similarly situated
                   RIBM employees who provided front desk services, determined requests for
                   modification of same and provided oversight to insure compliance therewith;

                c. determined the number of work hours per week that plaintiff and similarly-
                   situated RIBM employees who provided front desk services, this controlling
                   their earnings and eligibility for company benefits;

                d. conducted performance reviews of plaintiff and similarly situated RIBM
                   employees who provided front desk services;

                e. issued and enforced discipline to all RIBM employees who provided front
                   desk services;

                f.   acting in coordination with defendant Mary Culbert, made recommendations
                     to defendant Judith Moran concerning compensation and perquisites to be
                     paid to plaintiff and similarly-situated RIBM employees who provided front
                     desk services;


                                                 8
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 14 of 45




                 g. acting in coordination with defendant Mary Culbert, made recommendations
                    to defendant Judith Moran concerning decisions to hire, promote, demote
                    and/or fire RIBM employees who provided front desk services; and,

                 h. was a direct participant in all decisions concerning plaintiffs employment
                    status subsequent to June 1, 2016 including, but not limited to: 1) considering
                    and granting plaintiffs initial request for FML in June 2014; 2) denying
                    plaintiffs right to and request for job restoration on or about July 10 and
                    thereafter; 3) rejecting plaintiffs post-initial FML request for restoration of
                    his work schedule, job duties and pre-FML allotment of weekly work hours;
                    4) ignoring and/or rejecting plaintiffs allegations of unlawful discrimination
                    and retaliation; 5) ignoring and/or refusing plaintiffs requests that he be
                    provided a chair to use in his office when he worked overnight; and, 6)
                    considering and denying plaintiffs request for FML in September 2014; and,
                    coordinating and bringing about plaintiffs alleged and pre-textual voluntary
                    resignation.

       42.       In view of the duties and responsibilities that he carried out on behalf of

Waterford during plaintiffs employment, Mr. Campanini was plaintiffs "employer" as that term

is defined under FMLA and 42 U.S.C. § 1981.

              E. Individual Defendant Mary Culbert

       43.       Defendant, Mary Culbert, is an adult individual, United States citizen and resident

of the Commonwealth of Pennsylvania whose personal residence is unknown to plaintiff.

       44.       Ms. Culbert was the General Manager of RIBM, and thus was the ultimate and

final authority who was regularly employed at RIBM, and was therefore plaintiffs ultimate

supervisor.

       45.       Ms. Culbert:

                 a. created, delivered, explained and enforced employment policies applicable to
                    plaintiff and all other RIBM employees;

                 b. acting in coordination with all RIBM department managers, approved and/or
                    amended performance reviews of all RIBM employees, including plaintiff;

                 c. issued and enforced discipline to all RIBM employees;

                 d. acting in coordination with all RIBM department managers, made
                    recommendations to defendant Judith Moran concerning compensation and
                    perquisites to be paid to plaintiff and all other RIBM employees;
                                                   9
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 15 of 45




                e. acting in coordination with all RIBM department managers, made
                   recommendations to defendant Judith Moran concerning decisions to hire,
                   promote, demote and/or fire RIBM employees; and,

                f.   was a direct participant in all decisions concerning plaintiffs employment
                     status subsequent to June 1, 2016 including, but not limited to: 1) considering
                     and granting plaintiffs initial request for FML in June 2014; 2) denying
                     plaintiffs right to and request for job restoration on or about July 10 and
                     thereafter; 3) rejecting plaintiffs post-initial FML request for restoration of
                     his work schedule, job duties and pre-FML allotment of weekly work hours;
                     4) ignoring and/or rejecting plaintiffs allegations of unlawful discrimination
                     and retaliation; 5) ignoring and/or refusing plaintiffs requests that he be
                     provided a chair to use in his office when he worked overnight; and, 6)
                     considering and denying plaintiffs request for FML in September 2014; and,
                     coordinating and bringing about plaintiffs alleged and pre-textual voluntary
                     resignation.

       46.      In view of the duties and responsibilities that Ms. Culbert carried out on behalf of

Waterford during plaintiffs employment, Ms. Culbert was plaintiffs "employer," as that term is

defined under FMLA.

             F. Individual Defendant Judith Moran

       47.      Defendant, Judith Moran, is an adult individual, United States citizen and resident

of the Commonwealth of Pennsylvania whose personal residence is unknown to plaintiff.

       48.      Ms. Moran was at all times material hereto Waterford's Vice President of Human

Relations.

       49.      In that role she was responsible for creating, publishing and enforcing all

personnel policies applicable to Waterford employees, including plaintiff.

       50.      Further, Ms. Moran, acting as an agent for all Waterford employees, was charged

with and fulfilled the role as the point person for all negotiations between Waterford and third-

parties offering a variety of benefit packages (i.e. medical, workers compensation, disability,

retirement, 401(k)) which were in turn offered to Waterford employees such as plaintiff.




                                                  10
           Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 16 of 45




       51.      Ms. Moran additionally made decisions concerning the compensation levels,

benefit eligibility and leave policies offered to Waterford employees.

       52.      Moreover, Ms. Moran was the final authority and administrator who, on behalf of

Waterford, governed its compliance with state and federal laws governing minimum wage,

overtime, employee classification, entitlement to reasonable accommodations pursuant to ADA

and leave requirements under FMLA.

       53.      In her role as Vice President of Human Relations, Ms. Moran was routinely, if not

always, involved in all hiring and firing decisions, and frequently, if not always, issued letters of

termination such as that issued to plaintiff instantly.

        54.     At all times material hereto, Ms. Moran shared responsibility for all major

personnel decisions concerning RIBM employees, including that involving plaintiff, with Ms.

Culbert.

        55.     In fact, and as testified to under oath at plaintiffs unemployment hearing, Ms.

Moran was in regular contact with Ms. Culbert concerning plaintiffs complaints concerning his

mistreatment by the company, and the conflict involving Mr. Ehiogie.

        56.     During this time, Ms. Moran on at least two occasions endeavored to coordinate

meetings and/or conference calls between plaintiff, herself and RIBM management in order to

address said issue.

        57.     At all times material hereto, Ms. Moran:

                a. created, delivered, explained and enforced employment policies applicable to
                   plaintiff and all other RIBM employees;

                b. acting in coordination with all RIBM department managers, approved and/or
                   amended performance reviews of all RIBM employees, including plaintiff;

                c. issued and enforced discipline to all RIBM employees;



                                                   11
       Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 17 of 45




                    d. acting in coordination with all RIBM department managers, made
                       recommendations to defendant Judith Moran concerning compensation and
                       perquisites to be paid to plaintiff and all other RIBM employees;

                    e. acting in coordination with all RIBM department managers, made
                       recommendations to defendant Judith Moran concerning decisions to hire,
                       promote, demote and/or fire RIBM employees; and,

                   f.   was a direct participant in, and/or all decisions concerning plaintiffs
                        employment status subsequent to June 1, 2014 including, but not limited to: 1)
                        considering and granting plaintiffs initial request for FML in June 2014; 2)
                        denying plaintiffs right to and request for job restoration on or about July 10
                        and thereafter; 3) rejecting plaintiffs post-initial FML request for restoration
                        of his work schedule, job duties and pre-FML allotment of weekly work
                        hours; 4) ignoring and/or rejecting plaintiffs allegations of unlawful
                        discrimination and retaliation; 5) ignoring and/or refusing plaintiffs requests
                        that he be provided a chair to use in his office when he worked overnight; and,
                        6) considering and denying plaintiffs request for FML in September 2014;
                        and, coordinating and bringing about plaintiffs alleged and pre-textual
                        voluntary resignation.

             58.        In early July 2014, Ms. Moran, issued reports to RIBM employees in which

  she advised that only employees who worked an average of at least 30 hours per week would

  be entitled to company benefits.

       59.          In an undated letter sent under WHG letterhead to plaintiff, Ms. Ms. Moran

informed him that, in between January 1 and June 30, 2014, he had worked an average of 41.87

hours per week.

       60.          In view of the duties and responsibilities that Ms. Culbert carried out on behalf of

Waterford during plaintiffs employment, Ms. Culbert was plaintiffs "employer" as that term is

defined under FMLA.

                                      FACTUAL BACKGROUND

             A. Mr. Reese's Pre-Family and Medical Leave ("FML") Job Title, Work Schedule, etc.

       61.          Mr. Reese started work at the RIBM on March 26, 2012.




                                                     12
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 18 of 45




          62.      Soon after, he was promoted to the position of Full-Time Night Auditor, the

  position in which he served until his initial medical leave in June 2014.

          63.      In this capacity, plaintiff was typically scheduled to work 5 overnight (i.e.

  11 :00 p.m. top 6:00 a.m. shifts per week).

          64.      If plaintiff worked in excess of 40 hours in a given week, he was paid

  overtime.

          65.      The following is a reasonably accurate description of plaintiffs duties when he

  served as RIBM's full-time Night Auditor:

         Check figures, postings, and documents for accuracy. Record, store, access, and/or
         analyze computerized financial information. Control and secure cash and cash
         equivalents for property according to cash handling policy and procedures. Organize,
         secure, and maintain all files and records in accordance with document retention and
         confidentiality policies and procedures. Prepare, maintain, and distribute statistical,
         financial, accounting, auditing, or payroll reports and tables. Audit statistical,
         financial, accounting, auditing, or payroll reports and tables. Audit and reconcile all
         revenue postings.

       66.       When Plaintiff was not working the Night Shift, he served as a Front Desk

Assistant, with no "auditor" responsibilities.

              B. The Jackson Lawsuit

       67.       On April 29, 2013, a lawsuit captioned Jackson v. Waterford Hotel Group, Inc.

and Mary Culbert was filed in this court and assigned Civil Action No. 2: 13-cv-02310.

       68.       Plaintiff, Brian Jackson, was an African-American man who had worked for 5-

years as a bookkeeper at the RIBM.

       69.       Mr. Jackson alleged that his employment was unremarkable until after Ms.

Culbert was hired by Waterford to act as General Manager of the RIBM in November 2011.

        70.      Plaintiff Jackson alleged, inter alia, that he was subjected to disparate treatment

and a hostile work environment fostered and maintained by Ms. Culbert.

                                                   13
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 19 of 45




       71.    He averred further that Ms. Culbert's actions were motivated by racial animus.

       72.    Plaintiff averred that in January 2013 he made a complaint concerning such

mistreatment to Ms. Culbert and Waterford's then-Director of Human Resources, Dean Riddle.

       73.    Several weeks later, after he had made another complaint, Mr. Jackson was fired.

       74.    In April 2013, Mr. Jackson filed a §1981 action in this court.

       75.    In August 2013, Mr. Riddle, who had worked for Waterford since 2004, departed

his employment from Waterford.

       76.    Shortly thereafter, a letter from plaintiffs counsel to the court dated October 3,

2013 advised that the case had been "resolved," and requested the entry of a L.R. 41.l(b) order

(which was subsequently issued).

       77.    After the Jackson lawsuit was filed, plaintiff and his co-workers were told on

numerous occasion that changes were coming because the company was facing significant

pressure from third-parties to immediately create a more diverse workforce.

       78.     Plaintiff and others observed increasing chatter from all levels of management

concerning the need to diversify as the Jackson case progressed.

       79.     This chatter related to all aspects of the operation of RIBM, but it was loudest

when supervisors and managers were faced with choices concerning who to hire or fire, promote

or demote, reward or discipline.

       80.     The verbal reinforcement of the defendants' new direction towards diversity was

accompanied by an obvious trend towards hiring and advancing people of color or foreign birth,

promoting minorities and choosing white Americans for demotion, discipline or termination

(constructive and patent).




                                                 14
          Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 20 of 45




          81.      One of the candidates for this culling process was Mr. Riddle, who the employees

at Waterford widely-viewed as having been forced out in favor of Ms. Culbert, even though it

was she who Mr. Jackson alleged was the main proponent of his problems.

          82.      This widely-held belief was reinforced when, "after the smoke was cleared," Mr.

Riddle was brought back into the fold when he was hired to serve as the Director of Human

Relations for one of WGL's affiliates (Waterford Venue Services) in August 2014.

          83.      One of the benefactors of defendant's putative affirmative action program was

Kenneth Ehiogie, who ultimately replaced plaintiff.

                C. Enter Kenneth Ehiogie

          84.      In April 2014, Kenneth Ehiogie was hired by Waterford to work at the RIBM.

          85.      Mr. Ehiogie is a black man who was born in the Federal Republic of Nigeria.

          86.      Prior to being hired by defendants, Mr. Ehiogie had on May 6, 2013 filed a

Complaint in this Court.

          87.      That Complaint in Ehiogie v. Wells Fargo, 2: 13-cv-2526, which is one of the first

entries to populate the landing page if one simply enters "Kenneth Ehiogie" into the Google

Search Bar (it competes for the top listing spot with numerous references to Mr. Ehiogie's mug

shot and his October 2, 2013 arrest in Montgomery County), discloses the following:

     a.          in October 2008, Mr. Ehiogie was hired as a bank teller for Wells Fargo;

     b.          in December 2010, he was fired due to mishandling his cash drawer;

                   c. Mr. Ehiogie contended that his termination resulted from unlawful
                      discrimination based upon his race, color and national origin;

                   d. in August 2013 the case settled; no discovery had been conducted.

          88.      Mr. Ehiogie was hired to work predominantly as a front desk clerk on evening

shifts (3-11 ).


                                                    15
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 21 of 45




       89.      In addition, as a result of his bank teller experience, Mr. Ehiogie was assigned the

position of part-time Night Auditor.

       90.      In this role, he was to be scheduled to fill-in for plaintiff on the overnight shift

when plaintiff was not scheduled to work same.

       91.      Mr. Reese trained Mr. Ehiogie on the Night Auditor duties, and Mr. Ehiogee

performed same when he filled in for plaintiff.

             D. The 6-Weeks Immediately Preceding Plaintiff's First Family and Medical Leave

       92.      By May 11, 2014, Mr. Ehiogie was trained on the duties of a front desk clerk and

those of the part-time Night Auditor.

       93.      In between May 11 and June 26, 2014 (which is when plaintiff took Family and

Medical Leave for the first time), the allocation of shifts and hours between plaintiff and Mr.

Ehiogie was established as follows:

           Plaintiff Steven A. Reese                     Comparator/Replacement Kenneth Ehiogie
Total HW     I Total      % of          Average HW      Total     Total OVNT   % ofOVNT       Average HW
Pre-FMLA      OVNT        OVNTHW        Per Week        HW Pre-   HW Pre-      HW Out of      Per Week
              HW Pre-     Out of All    Pre-FMLA        FMLA      FMLA         All HW Pre-    Pre-FM LA
              FMLA        HWPre-                                               FMLA
                          FMLA                                                 Period
                          Period

215          1200        I 93°/o        35.83           226.5      135.5       60%           I 37.75



                                            Chart Key

"Pre-FMLA"              Sunday May 11 through Saturday June 28, 2014, excluding week of May 18-
                        24 due to absence of time records for that week. Although Mr. Reese's
                        FMLA leave started on Thursday June 26, he had worked 4 shifts (34 hours)
                        that week. Further, insofar as plaintiff and Mr. Ehiogie are concerned, the
                        June 22-28 schedule is virtually identical to that of June 15-21.

"OVNT"                  Overnight Shift Hours (11:00 p.m. to 7:00 a.m.)

"HW"                    Hours Worked



                                                  16
           Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 22 of 45




              E. Plaintiff's First FML Leave

        94.      In June 2014, plaintiff informed defendants that he required a medical leave of

absence.

        95.      Plaintiff informed defendants that he required leave because he had a substance

abuse problem, and was scheduled to receive treatment at a medical facility in order to remedy

same.

        96.      Leave under the Family and Medical Leave Act ("FMLA") is permitted/required

where, as here, the employee seeks leave at a medical facility in order to treat a substance abuse

problem.

        97.       Pursuant to EEOC Guidelines (and adapted by a majority of jurisdictions,

including the   3rd   Circuit), "[p]ersons addicted to drugs, but who are no longer using drugs

illegally and are receiving treatment for drug addiction or who have been rehabilitated

successfully, are protected by the ADA from discrimination on the basis of past drug addiction."

        98.      Plaintiffs chemical dependence on addictive narcotics constituted a disability as

that term is defined under the ADA.

        99.      Plaintiffs request for medical leave of absence constituted a request for a

reasonable accommodation as that term is defined in ADA.

        100.     Alternatively, plaintiff believes, and therefore avers, that defendants regarded him

as disabled.

        101.     During Mr. Reese's FML, Mr. Ehiogie worked exclusively on the night shift and

was given substantial overtime hours.

        102.     This treatment was successful, and plaintiff was clean and sober when he

informed defendants that he was ready, willing and able to return to work as of July 10, 2014.



                                                     17
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 23 of 45




       F.      Post-FML-Mr. Reese Not Reinstated and Instead
               Subjected to Involuntary Unpaid Suspension

       103.     Although plaintiff sought reinstatement to his former position effective Thursday

July 10, 2014, RIBM denied him this protected right.

       104.     Instead, Mr. Reese was initially told to "take an additional week off' (i.e. July 10-

17), which he was forced to do.

       105.     During that week, plaintiff was not paid.

       106.     On Wednesday, July 16, plaintiff was summoned to a meeting with Mr.

Campanini and Ms. Culbert.

       107.     During that meeting, Mr. Campinini and Mary Culbert told plaintiff that Mr. Mr.

Ehiogie had assumed plaintiffs duties while he was on FML, and "had done a real good job."

       108.     They then informed him that Mr. Ehiogie would be retaining the full-time Night

Auditor position going forward.

       109.      Mr. Campanini and Mary Culbert continued by informing plaintiff that, going

forward, he would be scheduled to work a variety of shifts, and would fill in on nights as needed.

       110.      Plaintiff was therefore essentially provided with two choices: 1) resign; or, 2)

accept the radical change to the terms and conditions offered to him by defendants.

        111.     Left without a meaningful choice, Mr. Reese accepted the new, less desirable,

terms and conditions and asked to be placed back onto the schedule.

        112.     Plaintiff was finally placed onto the work schedule on Tuesday, July 22, 2015.

        113.     He had been subjected to an involuntary unpaid leave in a retaliatory response to

his having taken FMLA leave and/or being regarded as disabled (and thus an undesirable).

        114.     Subjecting plaintiff to an involuntary unpaid suspension upon his scheduled return

from his FML violated the provisions of FMLA.

                                                   18
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 24 of 45




        115.      Subjecting plaintiff to an involuntary unpaid suspension upon his scheduled return

from his medical leave violated the provisions of ADA.

        116.      Subjecting plaintiff to an involuntary, unpaid suspension upon his scheduled

return from FML constituted a willful and intentional violation of FLA, for which double

damages should be awarded.

       G.       Damages Resulting from Post-FMLA Involuntary Unpaid Leave

       117.       As a consequence of the aforesaid unlawful acts, plaintiff lost 2-weeks of

compensation in between July 10 and July 22, 2014.

             H. Post-FML - Mr. Reese Subjected to Loss of Position, Putative Demotion and
                 Reduction in Hours

       118.       In between July 10 and his last date of active work, October 2, 2014 ("the

Interference Period"), plaintiff was subjected to unlawful and harmful employer actions that

continued without respite.

       119.       In the interest of consistency, an examination of the allocation of shifts and hours

over the first 6-weeks following plaintiffs July 10 return from FML illustrates plaintiffs loss -

and Mr. Ehiogie's gain.




            Plaintiff Steven A. Reese                     Comparator/Replacement Kenneth Ehiogie
Total HW       I Total        % of         AverageHW     Total     Total OVNT   % ofOVNT     Average HW
Post-FMLA       OVNT          OVNTHW       Per Week      HW        HW Post-     HW Out of    Per Week
                HW            Out of All   Post-FMLA     Post-     FMLA         AllHW        Post- FMLA
                Post-         HW Post-                   FMLA                   Post-
                FMLA          FMLA                                              FMLA

180            181        I   45°/o        130           244       236          96.8%       / 40.66




                                                 Chart Key

"Post-FMLA"              Sunday July 13 through Saturday August 23, 2014 is the first full 6-weeks
                         immediately following plaintifrs return following his initial FMLA leave

                                                    19
       Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 25 of 45




                        (while plaintiff was prepared to return to work on Thursday July 10, we
                        start with the first full workweek thereafter, beginning Sunday July 13)

"OVNT"                   Overnight Shift Hours (11:00 p.m. to 7:00 a.m.)

"HW"                    Hours Worked


       120.      This trend is also evident if one starts on the first full workweek following

plaintiffs return from his involuntary unpaid leave on July 20 continued throughout the duration

of plaintiffs employment:

           Plaintiff Steven A. Reese                     Comparator/Replacement Kenneth Ehiogie
Total HW      I Total      % of         Average HW      Total     Total OVNT   % ofOVNT     Average HW
Post-FMLA      OVNT        OVNTHW       Per Week        HW        HW Post-     HW Out of    Per Week
               HW          Out of All   Post- FMLA      Post-     FMLA         AllHW        Post- FMLA
               Post-       HW Post-                     FMLA                   Post-
               FMLA        FMLA                                                FMLA
180           181        145°/o         130            I 244      236          96.8%       I 40.66



                                              Chart Key

"Post-IVSP"             Sunday July 20 through Saturday October 2, 2014 is the 6-week period
                        immediately following plaintifrs return from the involuntary suspension
                        without pay he was subjected to following his initial FMLA leave.

"OVNT"                  Overnight Shift Hours (11:00 p.m. to 7:00 a.m.)

"HW"                    Hours Worked


       121.      More specifically, plaintiff was subjected to, inter alia, the following adverse

employment actions during the Interference Period:

       •    His average weekly work hours were reduced to +/-30 per week;

       •    He was usually scheduled for 3 evening shifts and 2 night shifts per week, while Mr.
            Ehiogie worked almost exclusively night shifts; in other words, their schedules had
            basically been reversed;

       •    Mr. Ehiogie assumed the duties of the full-time Night Auditor; and,



                                                  20
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 26 of 45




        •   He was excluded from work-related activities, meetings, assignments, etc. that he had
            previously been invited to, involved with, etc., and was subjected to social isolation
            (pariah status).

            I. Post-FML - Mr. Reese Subjected to Demotion, Sporadic Schedule, Reduction in
               Hours (and Compensation), Loss of Chair and Stigmatization

        122.    During the Interference Period, plaintiff was also subjected to a curious form of

retaliation that manifested itself in a work-related injury.

        123.    Prior to his FML, plaintiff had a work chair that he would sit in while he

performed the financial aspects of the Night Auditor position.

        124.    However, when he returned from FML, this chair was gone.

        125.    Mr. Ehiogie had been provided a chair to use when he worked night shift, but

whenever plaintiff "filled-in" on the night shift, the chair was absent.

        126.    The chair was intentionally being removed from the Night Auditor office, so that

plaintiff was forced to stand throughout the entire night shift, even when he was performing his

accounting duties.

        127.    When plaintiff inquired with management at RIBM about his missing chair, he

was given a vague answer, but the chair remained missing.

        128.    When he asked management at RIBM for a chair to use when he filled in for Mr.

Ehiogie, his request was refused.

        129.    Not surprisingly (predictably, in fact), the stress of standing for 8 hours at a time,

often while leaning over to peer into a computer screen or make data entry, Mr. Reese suffered a

a degenerative, stress-related injury to his knee, which rendered him incapable of performing his

essential job duties.

        130.    This condition so incapacitated plaintiff that he was forced to take off during the

week of September 21-2 7.


                                                  21
         Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 27 of 45




        131.     Plaintiffs leave during this week was unpaid.

        132.     Mr. Reese informed RIBM management as to the cause and severity of his injury

in the course of advising that he would be required to take at least a week off to rehabilitate his

knee.

        133.     The knee injury constituted a serious health condition and plaintiff was entitled to

have his September 21-27 absence designated as FMLA Leave.

        134.     Defendants failed to designate plaintiffs absence from work in between

September 21-27 as leave protected under FMLA.

        135.     Moreover, defendants were statutorily required to issue plaintiff notice of his

FMLA rights.

        136.     Defendants failed to provide plaintiff with notice of his right to FMLA Leave in

connection with his September 2014 absence from work.

        137.      Defendants failed in every way to satisfy the employer's obligations to provide

plaintiff with notice of his FMLA leave rights in connection with his knee injury.

        138.      Moreover, plaintiff was, without his knowledge or consent, placed on the

schedule to work night shifts on Sunday, September 28 and Monday, September 29 because Mr.

Ehiogie was scheduled to be off on those days.

        139.      As a consequence, plaintiff, being fearful that he would lose his job ifhe stayed

out long enough to allow his injury to fully-heal, returned to work before he was physically able

to do so.

               J. Damages During the Interference Period

         140.     During the Interference Period, plaintiff suffered the following damages:

                  a. Loss of compensation as a result of a reduction in his scheduled work hours;
                     and,

                                                   22
         Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 28 of 45




                 b. Loss of a week's wages due to the unpaid leave he was required to take during
                    the week of September 21-27.

             K. The Retaliatory Discharge Claim - Facts Immediately Preceding Plaintiff's Last
                Day of Work

         141.    Prior to plaintiffs initial FML, Mr. Ehiogie worked an average of approximately

36 hours per week on various shifts, was not entrusted with the responsibilities of the Night

Auditor position, and was subordinate to plaintiff.

         142.    During the three-weeks that comprised plaintiffs FML and subsequent IVSP

(June 29 through July 22), Mr. Ehiogie worked an average of 4 7 hours a week only on the night

shift, had full authority as the Night Auditor and was subordinate to no one.

         143.    Perhaps most importantly, where Mr. Ehiogie was concerned, was that he in

essence received a 28% increase in compensation as a result of plaintiffs FML and IVSP.

         144.    Mr. Ehiogie was, upon information and belief, told that he had been awarded the

full-time Night Auditor job while Mr. Reese was out of FML/ IVSP. Hence, when plaintiff

returned on July 22, Mr. Ehiogie had a vested interest in making sure that the newly-established

status quo remained unchanged.

         145.    Plaintiff believes, and therefore avers, that Mr. Ehiogie was responsible for his

missing chair and the continual denial of access to the chair used by Mr. Ehiogie.

         146.    Plaintiff complained to management about these acts, and sought assistance, to no

avail.

         14 7.   Mr. Ehiogie was made aware about these complaints, and also was made aware

that management took no actions to assist plaintiff in any way.

         148.     Angry about plaintiffs complaints, and emboldened by management's

appeasement of him via its inaction, Mr. Ehiogie then engaged in a course of threatening and

harassing behavior directed at plaintiff.

                                                  23
           Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 29 of 45




       149.     Again, plaintiff complained to management about these actions and, again,

management did nothing to assist plaintiff or to remedy the situation.

       150.     Ultimately, plaintiffs loss of title and responsibilities, which were exacerbated by

a loss of earnings, resulted in a loss of self-esteem, humiliation, embarrassment and significant

emotional trauma.

       151.     The damages were greatly compounded by Mr. Ehiogie's systematic harassment,

and management's utter failure to address and remedy plaintiff's concerns.

       152.     These traumas collectively resulted in plaintiff's temporary departure from

employment on or about October 2, 2014.

             L. Plaintiff is Terminated

       153.     A letter to plaintiff dated October 16, 2014 issued on the letterhead of defendant

Waterford Hotel Group, Inc. and signed by "Ms. Judy Moran, Vice President of Human

Resources" states in pertinent part:

             You have not reported to work since October 2, 2014 ... We
             are writing to accept your voluntary resignation.

        154.    A "COBRA Election Form" issued by "Waterford Hotel Group" includes the

following pertinent information:

                Identification Number:         WAT034001751
                 Qualifying Event:             Termination
                COBRA Start Date               October 2, 2014

        155.    In a November 24, 2014 letter to the Pennsylvania Department of Labor prepared

by an agent action on behalf of defendant Waterford Hotel Group, Inc. stated in pertinent part as

follows:

        [On October 3, 2014], Claimant alleged that a co-worker (Kenneth E) was seen
        copying other worker's paychecks ... His supervisor made arrangements for the
        claimant to continue working with no contact with Kenneth and the claimant
        agreed to work while the situation was investigated.
                                                  24
     Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 30 of 45




    The next day (Saturday October 4, 2014) the claimant sent an email that he could
    not work until Kenneth was gone. The same occurred on October 5. 2014. An
    investigation was conducted and the decision was made not to terminate
    Kenneth's employment.

    On October 9, 2014 at 2:00 claimant failed to attend a phone appointment with
    Judy Moran .... He indicated he would call on Monday October 13, 2014-. The
    claimant did not contact anyone and on October 16, 2014 a letter was sent
    indicating that we accepted his voluntary resignation. The Associate handbook
    [sic] states on page 6 in the Attendance Policy "If an Associate does not report to
    work for three (3) consecutive scheduled work shifts without an adequate excuse,
    he or she will be deemed to have voluntarily resigned their position due to job
    abandonment."

       156.      As a result of the aforesaid conduct, Ms. Moran was plaintiffs "employer" as

that term is defined under 42 U.S.C. § 1981.

       157.      Alternatively, if either Ms. Culbert or Mr. Campanini were not personally

involved in some or all of the aforesaid unlawful treatment, they at a minimum aided, abetted,

incited, compelled or coerced unlawful discrimination and retaliation because:

               a. Although they knew or should have known that the plaintiff was being
                  subjected to unlawful adverse employment actions motivated by animus
                  because of his race, color and/or national origin (sometimes referred to as
                  "reverse discrimination") but repeatedly refused to take prompt action to end
                  the adverse employment action directed at plaintiff;

               b. Although they knew or should have known that, subsequent to plaintiffs
                  release to work without restrictions after his first FML, he was being
                  subjected to unlawful adverse employment actions motivated by defendants'
                  disability-based animus but repeatedly refused to take prompt action to end
                  the adverse employment action directed at plaintiff;

       158.      If either Ms. Culbert or Mr. Campanini were not directly involved in causing

illegal adverse employment actions to be directed against plaintiff then, a result of the

aforesaid conduct, either Ms. Culbert or Mr. Campanini were plaintiffs "employer" as that

term is defined under PHRA.

        159.


                                               25
      Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 31 of 45




        160.     Alternatively, if Ms. Moran was not personally involved in some or all of the

aforesaid unlawful treatment, she at a minimum aided, abetted, incited, compelled or coerced

unlawful discrimination and retaliation because:

               a. Although she knew or should have known that the plaintiff was being
                  subjected to unlawful adverse employment actions motivated by animus
                  because of his race, color and/or national origin (sometimes referred to as
                  "reverse discrimination"), she repeatedly refused to take prompt action to end
                  the adverse employment action directed at plaintiff;

               b. Although she knew or should have known that, subsequent to plaintiffs
                  release to work without restrictions after his first FM, he was being subjected
                  to unlawful adverse employment actions motivated by defendants' disability-
                  based animus, she repeatedly refused to take prompt action to end the adverse
                  employment action directed at plaintiff;

       161.      If Ms. Moran was not directly involved in causing illegal adverse employment

actions to be directed against plaintiff then, a result of the aforesaid conduct, she was

plaintiffs "employer" as that term is defined under PHRA.

       162.      Thereafter, defendants illegally terminated plaintiffs employment thereafter;

however, even ifthe cessation of plaintiffs employment is, as contended by RIBM,

designated a resignation via job abandonment, we assert that the above actions and inactions

collectively resulted in an unlawful constructive discharge for which RIBM is liable.

       163.      The end of plaintiff's employment came about when he demanded that Mr.

Ehiogie be terminated due to a number of reasons, some of which involved threats he believed

Mr. Ehiogie had made against him. plaintiff refused to return to work subsequent to October

2nd


       164.      Plaintiff believes, and therefore avers, that defendant' were or should have

been aware of plaintiff's rights under FMLA, and that they failed to act in good faith when

they, inter alia, failed to provide plaintiff with his rights under FMLA as required by law, and

thereafter unlawfully terminated plaintiff's employment.

                                               26
      Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 32 of 45




        165.     As a result of the aforesaid unlawful actions by defendant, plaintiff suffered,

and continues to suffer, damages in the form of, inter alia, lost wages and benefits.

                                       COUNT I
                            PLAINTIFF v. ALL DEFENDANTS
                                  Violations of FMLA

        166.     Plaintiff hereby incorporates all other paragraphs in this Complaint as though

fully set forth at length herein.

        167.     Ms. Culbert and Mr. Campanini were at all times material hereto aware that

interfering with plaintiffs right to take FML, or retaliating against him on account of his

exercise of same by punishing him through adverse employment actions, violated both the

letter and spirit of the FMLA.

        168.     Ms. Culbert and Mr. Campanini were at all times material hereto aware that

plaintiff had been approved for, and had taken, FML in between June 26 and July 9, 2014.

        169.     Ms. Culbert and Mr. Campanini were at all times material hereto aware that

plaintiff was entitled to full job restoration upon the conclusion of his FML, and that a) any

failure to reinstate plaintiff to his former position would constitute unlawful interference

and/or retaliation under FMLA; b) changing plaintiffs work hours would constitute unlawful

interference and/or retaliation under FMLA; and, c) reducing the number of hours that

plaintiff was scheduled to work each week would constitute unlawful interference and/or

retaliation under FMLA.

        170.     Despite the foregoing, Ms. Culbert and Mr. Campanini, acting in concert, and

with the knowledge, guidance and consent of Ms. Moran, purposefully and intentionally

directed, carried out and participated in the following unlawful acts, and others:

               a. Over plaintiffs protestations, they refused to immediately reinstate plaintiff to
                  his former position as full-time Night Auditor upon expiration of his FML on
                  July 10, 2014;
                                                27
Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 33 of 45




     b. Over plaintiff's protestations, they refused to schedule plaintiff for any work
        during the two (2) weeks immediately following the conclusion of his FML on
        July 10, 2014;

     c. Over plaintiff's protestations, they refused to reinstate plaintiff to his former
        position as full-time Night Auditor even after plaintiff was placed back onto
        the front desk work schedule on July 22, 2014;

     d. Over plaintiff's protestations, they scheduled plaintiff for less hours of work
        beginning as of the date that plaintiff was placed back onto the front desk
        work schedule following his initial medical leave (July 22, 2014) up until
        plaintiff's last date of work 2-months later (October 2, 2014);

     e. Over plaintiff's protestations, and despite the fact that plaintiff had prior to his
        medical leave been scheduled to work his preferred shift (the overnight shift),
        they refused schedule plaintiff for said shift, instead scheduling him to work
        day and evening shifts, beginning as of the date that plaintiff was placed back
        onto the front desk work schedule following his initial medical leave (July 22,
        2014) and up until plaintiff's last date of work 2-months later (October 2,
        2014);

     f.   They refused to locate, return or replace plaintiff's desk chair, which was
          necessary for his physical integrity and comfort, even after plaintiff advised
          him upon returning for his initial medical leave that the chair was missing;

     g. They refused to insure that plaintiff was provided with a desk chair when he
        was scheduled to work overnight shift, even though plaintiff had repeatedly
        requested such accommodation and even though they were aware that a chair
        was necessary to the physical integrity and comfort of anyone who, like
        plaintiff, was required to enter financial data into a computer for 5-7 hours a
        shift;

     h. They refused to conduct a meaningful investigation into complaints plaintiff
        made concerning threatening words and deeds made and/or undertaken by his
        putative replacement, Kenneth Ehiogie;

     1.   They refused to take corrective action against putative replacement, Kenneth
          Ehiogie, despite being made aware that Mr. Ehiogie directed threatening
          words and deeds towards plaintiff;

    J.    They refused to approve a request for Family and Medical Leave made by
          plaintiff in September 2014 arising out of the injuries to plaintiff's leg
          resulting from their decisions to 1) refuse and ignore plaintiff's request that
          the chair that he used prior to his first FML be retrieved or replaced; 2) refuse
          and ignore plaintiff's request that Mr. Ehiogie be required to not remove or
          leave the chair Mr. Ehiogie in the office he shared with plaintiff for plaintiff's
          use when he worked the overnight shift;


                                        28
     Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 34 of 45




               k. Through other words and deeds not necessary to the adequacy of this
                  pleading, they engaged in a course of additional conduct which, in
                  collaboration with that set forth hereinabove, they intended to cause the
                  cessation of plaintiffs employment by causing plaintiff to 1) engage in
                  workplace misfeasance sufficient to justify his termination with cause; or, 2)
                  voluntarily resign his employment;

               1.   They permitted, maintained and fostered a hostile work environment by
                    consistently directing aggressive, dismissive and inequitable actions towards
                    plaintiff on account of actions by plaintiff they allegedly found to be
                    improper, incorrect, insubordinate or violative of company policy, while at the
                    same time they failed and refused to discipline, warn or counsel Mr. Ehiogie
                    for similar (or worse) actions; and,

               m. When responding to similar workplace behavior engaged upon by plaintiff
                  and Mr. Ehiogie, they routinely and consistently treated Mr. Ehiogie more
                  favorably than they did plaintiff.

        171.        Subsequent to June 24, 2014, Ms. Culbert and Mr. Campanini -- acting in

concert, and with deliberate and intended purpose -- spearheaded an unlawful, willful,

vexatious and relentless campaign on behalf of Waterford's management to create a hostile

work environment so poisonous that plaintiff would eventually either 1) engage in behavior

that would warrant on its face warrant termination; or, 2) would voluntarily resign his

position.

        172.        As a result of the aforesaid conduct, Ms. Culbert and Mr. Campanini were

plaintiff's "employer" as that term is defined under the Family and Medical Leave Act.

        173.        Ms. Moran was at all times material hereto aware that interfering with

plaintiff's right to take FML, or retaliating against him on account of his exercise of same by

punishing him through adverse employment actions, violated both the letter and spirit of the

FMLA.

        174.        Ms. Moran was at all times material hereto aware that plaintiff had been

approved for, and had taken, FML in between June 26 and July 9, 2014.



                                                 29
     Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 35 of 45




       175.        Ms. Moran was at all times material hereto aware that plaintiff was entitled to

full job restoration upon the conclusion of his FML, and that a) any failure to reinstate

plaintiff to his former position would constitute unlawful interference and/or retaliation under

FMLA; b) changing plaintiffs work hours would constitute unlawful interference and/or

retaliation under FMLA; and, c) reducing the number of hours that plaintiff was scheduled to

work each week would constitute unlawful interference and/or retaliation under FMLA.

       176.        Despite the foregoing, Ms. Moran authorized Ms. Culbert and Mr. Campanini

to purposefully and intentionally engage in the following unlawful acts, and/or acquiesced to

same, such actions including, but not limited to the following:

              a.   Over plaintiffs protestations, they refused to immediately reinstate plaintiff to
                   his former position as full-time Night Auditor upon expiration of his FML on
                   July 10, 2014;

              b. Over plaintiffs protestations, they refused to schedule plaintiff for any work
                 during the two (2) weeks immediately following the conclusion of his FML on
                 July 10, 2014;

              c.   Over plaintiffs protestations, they refused to reinstate plaintiff to his former
                   position as full-time Night Auditor even after plaintiff was placed back onto
                   the front desk work schedule on July 22, 2014;

              d. Over plaintiffs protestations, they scheduled plaintiff for less hours of work
                 beginning as of the date that plaintiff was placed back onto the front desk
                 work schedule following his initial medical leave (July 22, 2014) up until
                 plaintiffs last date of work 2-months later (October 2, 2014);

              e.   Over plaintiffs protestations, and despite the fact that plaintiff had prior to his
                   medical leave been scheduled to work his preferred shift (the overnight shift),
                   they refused schedule plaintiff for said shift, instead scheduling him to work
                   day and evening shifts, beginning as of the date that plaintiff was placed back
                   onto the front desk work schedule following his initial medical leave (July 22,
                   2014) and up until plaintiffs last date of work 2-months later (October 2,
                   2014);

              f.   They refused to locate, return or replace plaintiffs desk chair, which was
                   necessary for his physical integrity and comfort, even after plaintiff advised
                   him upon returning for his initial medical leave that the chair was missing;



                                                 30
     Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 36 of 45




              g. They refused to insure that plaintiff was provided with a desk chair when he
                 was scheduled to work overnight shift, even though plaintiff had repeatedly
                 requested such accommodation and even though they were aware that a chair
                 was necessary to the physical integrity and comfort of anyone who, like
                 plaintiff, was required to enter financial data into a computer for 5-7 hours a
                 shift;

              h. They refused to conduct a meaningful investigation into complaints plaintiff
                 made concerning threatening words and deeds made and/or undertaken by his
                 putative replacement, Kenneth Ehiogie;

              1.   They refused to take corrective action against putative replacement, Kenneth
                   Ehiogie, despite being made aware that Mr. Ehiogie directed threatening
                   words and deeds towards plaintiff;

              J.   They refused to approve a request for Family and Medical Leave made by
                   plaintiff in September arising out of the injuries to plaintiff's leg resulting
                   from their decisions to 1) refuse and ignore plaintiff's request that the chair
                   that he used prior to his first FML be retrieved or replaced; 2) refuse and
                   ignore plaintiff's request that Mr. Ehiogie be required to not remove or leave
                   the chair Mr. Ehiogie in the office he shared with plaintiff for plaintiff's use
                   when he worked the overnight shift;

              k. Through other words and deeds not necessary to the adequacy of this
                 pleading, they engaged in a course of additional conduct which, in
                 collaboration with that set forth hereinabove, they intended to cause the
                 cessation of plaintiff's employment by causing plaintiff to 1) engage in
                 workplace misfeasance sufficient to justify his termination with cause; or, 2)
                 voluntarily resign his employment;

              1.   They permitted, maintained and fostered a hostile work environment by
                   consistently directing aggressive, dismissive and inequitable actions towards
                   plaintiff on account of actions by plaintiff they allegedly found to be
                   improper, incorrect, insubordinate or violative of company policy, while at the
                   same time they failed and refused to discipline, warn or counsel Mr. Ehiogie
                   for similar (or worse) actions; and,

              m. When responding to similar workplace behavior engaged upon by plaintiff
                 and Mr. Ehiogie, they routinely and consistently treated Mr. Ehiogie more
                 favorably than they did plaintiff.

       177.        Subsequent to June 24, 2014, Ms. Moran not only authorized the above

conduct, she developed, coordinated and facilitated the actions of Waterford's management,

and personally participated in some or all of the above actions, in order to create a hostile

work environment so poisonous that plaintiff would eventually either 1) engage in behavior
                                                31
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 37 of 45




  that would warrant on its face warrant termination; or, 2) would voluntarily resign his

  position.

          178.   As a result of the aforesaid conduct, Ms. Moran was plaintiffs "employer" as

  that term is defined under the Family and Medical Leave Act.

          179.   Defendants violated the FMLA by failing to provide plaintiff with notice of his

  rights under FMLA in or around September 21, 2014, when he required and was entitled to

  such leave due to a serious physical condition affecting his leg that made him unable to

  perform his essential job duties.

          180.   Defendants violated the FMLA by interfering with plaintiffs right to FMLA

  leave by having Mr. Campanini persistently contact plaintiffs father to inquires as to when

  plaintiff was going to return to work while he was out on FMLA leave.

          181.    Defendants violated the FMLA by retaliating against plaintiff, as described

  hereinabove, after he advised that he was ready, able and willing to return from his initial

  FML leave on or about July 9, 2014.

       182.       Defendants violated plaintiff by terminating his employment or constructively

discharging his employment because he exercised and/or sought to exercise his rights to FML.

       183.       As a result of the aforesaid conduct of defendant, plaintiff suffered, inter alia, a

loss of income and employment, and all of the benefits attendant thereto, which damages

continue at present and which may continue to do so in the foreseeable future, as well as

humiliation, embarrassment, loss of reputation and self-esteem, fear for his personal safety and

that of his family and emotional distress.

       WHEREFORE, plaintiff Steven A. Reese demands, pursuant to all applicable provisions

of the Family and Medical Leave Act of 1993, 29 U.S.C. §§2601 et seq., ("FMLA"), that a



                                                 32
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 38 of 45




judgment be entered in his favor and against defendants, Waterford Hotel Group, Inc., Waterford

Group, L.L.C., Mary Culbert, Peter Campanini and Judith Moran, as follows:

                 a.        all wages and benefits to which plaintiff is entitled pursuant to
                           §2617(A) of FMLA;

                 b.        pre and post-judgment interest thereon in accordance with
                           §2617(A)(ii) of FMLA;

                  c.       liquidated damages in accordance with §2617(A)(iii) of FMLA;

                  d.       An Order issued by Your Honorable Court reinstating plaintiff to
                           the position he occupied prior to the defendants' unlawful
                           violation(s) of FMLA, said Order ofreinstatement being
                           accompanied by defendants' retroactive credit(s) of all rights and
                           benefits to which plaintiff would have been entitled as of the date
                           of judgment absent defendants' violation ofFMLA; OR,

                  e.       An award of front pay sufficient to compensate plaintiff for his
                           continuing, ongoing damages; and,

                  f.       Such other relief as Your Honorable Court deems just and
                           appropriate.

                                               COUNT II
                                  PLAINTIFF v. ALL DEFENDANTS
                             Violation of the Equal Rights Act of 1866, as amended,
                                   42 U.S.C. §§1981, et seq. ("Section 1981")

          184.         Plaintiff hereby incorporates by reference all other paragraphs of his complaint

   as though more fully set forth at length herein.

          185.         Officers, managers and employees of a corporation may become personally

   liable when they intentionally cause an infringement of rights protected by Section 1981,

   regardless of whether the corporation may also be held liable.

           186.        The individual defendants herein were are personally involved in the

   discrimination and/or retaliation against the plaintiff, and/or aided and abetted same, and they

   intentionally caused the defendant employer(s) to infringe upon plaintiffs Section 1981



                                                     33
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 39 of 45




  rights, and/or if they authorized, directed, or participated in the alleged discriminatory

  conduct.

          187.    Defendants unlawfully discriminated against plaintiff because he was a white

  Caucasian of American descent.

          188.    Said discrimination is described at length herein above, and will not be restated

  at length herein.

          189.    However, in summary, said discrimination included promoting Mr. Ehiogie

  into the Full-Time Night Auditor position previously filed by plaintiff, allowing Mr. Ehiogie

  to remain in that position despite plaintiffs protests, failing to discipline or correct Mr.

  Ehiogie after being informed of his misconduct by plaintiff and retaining Mr. Ehiogie's

  employment despite being provided information from plaintiff warranting his discharge.

          190.    Defendants' decision to choose Mr. Ehiogie as plaintiffs replacement, and to

  thereafter retain him in that position, was the result of defendants' knowing and intentional

  decision to hire, promote and favor black and/or foreign-born and/or minority employees over

  white, Caucasian, American employees such as plaintiff.

          191.    Defendants' actions and inactions, which culminated in the termination and/or

  constructive discharge of plaintiff, violated Section 1981.

       192.       As a result of the aforesaid conduct of defendant, plaintiff suffered, inter alia, a

loss of income and employment, and all of the benefits attendant thereto, which damages

continue at present and which may continue to do so in the foreseeable future, as well as

humiliation, embarrassment, loss of reputation and self-esteem, fear for his personal safety and

that of his family and emotional distress.

       WHEREFORE, plaintiff Steven A. Reese demands, pursuant to all applicable provisions

of the Equal Rights Act of 1866, as amended, 42 U.S.C. §§1981, et seq., that a judgment be
                                                 34
       Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 40 of 45




entered in his favor and against defendants, Waterford Hotel Group, Inc., Waterford Group,

L.L.C., Mary Culbert, Peter Campanini and Judith Moran, in a sufficient amount to fully

compensate him for his compensable losses, along with attorney fees, punitive damages, costs

and such other relief as Your Honorable Court deems just and appropriate.

                                      COUNT III
    PLAINTIFF v. WATERFORD HOTEL GROUP, INC., WATERFORD GROUP, L.L.C.
                Violation of the Title VII of the Civil Rights Act of 1964, as amended, 42
                                 U.S.C. §§2000e, et seq. ("Title VII")

          193.    Plaintiff hereby incorporates by reference all other paragraphs of his complaint

  as though more fully set forth at length herein.

          194.    The Waterford Defendants unlawfully discriminated against plaintiff because

  he was a white Caucasian of American descent.

          195.    Said discrimination is described at length herein above, and will not be restated

  at length herein.

          196.    However, in summary, said discrimination included promoting Mr. Ehiogie

  into the Full-Time Night Auditor position previously filed by plaintiff, allowing Mr. Ehiogie

  to remain in that position despite plaintiffs protests, failing to discipline or correct Mr.

  Ehiogie after being informed of his misconduct by plaintiff and retaining Mr. Ehiogie 's

  employment despite being provided information from plaintiff warranting his discharge.

          197.   The Waterford Defendants' decision to choose Mr. Ehiogie as plaintiffs

  replacement, and to thereafter retain him in that position, was the result of defendants'

  knowing and intentional decision to hire, promote and favor black and/or foreign-born and/or

  minority employees over white, Caucasian, American employees such as plaintiff.

          198.   The Waterford Defendants' actions and inactions, which culminated in the

  termination and/or constructive discharge of plaintiff, violated Section 1981.


                                                 35
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 41 of 45




       199.       As a result of the aforesaid conduct of the Waterford Defendants, plaintiff

suffered, inter alia, a loss of income and employment, and all of the benefits attendant thereto,

which damages continue at present and which may continue to do so in the foreseeable future, as

well as humiliation, embarrassment, loss of reputation and self-esteem, fear for his personal

safety and that of his family and emotional distress.

       WHEREFORE, plaintiff Steven A. Reese demands, pursuant to all applicable provisions

of the Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§2000e, et seq., that a

judgment be entered in his favor and against defendants, Waterford Hotel Group, Inc. and

Waterford Group, L.L.C., in a sufficient amount to fully compensate him for his compensable

losses, along with attorney fees, punitive damages, costs and such other relief as Your Honorable

Court deems just and appropriate.

                                     COUNT IV
 PLAINTIFF v. WATERFORD HOTEL GROUP, INC., WATERFORD GROUP, L.L.C.
        Violation of the Americans With Disabilities Act of 1990, as amended,
                          42 U.S.C. §§12101, et seq. ("ADA")

       200.    Plaintiff hereby incorporates by reference all other paragraphs of his complaint as

though more fully set forth at length herein.

        201.      Subsequent to receiving treatment in June 2014, plaintiff was ready, willing

and able to return to work as of on or about July 10, 2014.

        202.      As of July 10, 2014, plaintiff was sober and not ingesting any addictive

medications.

        203.      As of July 10, 2014, plaintiff was disabled, as that term is defined in the ADA.

        204.      Despite said disability, plaintiff was able to perform all major life activities,

including working, with or without a reasonable accommodation.




                                                 36
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 42 of 45




       205.       As of July 10, 2014, and at all relevant times thereafter, defendants

(incorrectly) believed that because plaintiff had a disability, he was unable to perform all major

life activities, such as, inter alia, working, with or without a reasonable accommodation.

       206.       As a result of their incorrect belief that persons with disabilities such as that

disability suffered by plaintiff could not perform their job duties, defendants subjected plaintiff

to demotion, disparate treatment as compared to other employees who were not disabled, a

hostile work environment, termination and/or constructive discharge.

       207.       As of July 10, 2014, and at all relevant times thereafter, defendants regarded

plaintiff as disabled, and believed he was as a consequence thereof unable to perform all major

life activities, such as, inter alia, working, with or without a reasonable accommodation.

       208.       Because defendants regarded plaintiff as disabled, and unable to perform major

life activities such as, inter alia, working, with or without a reasonable accommodation,

defendants subjected plaintiff to demotion, disparate treatment as compared to other employees

they did not regard as disabled, a hostile work environment, termination and/or constructive

discharge.

        209.      As a result of the aforesaid conduct of defendants, which violated the ADA,

plaintiff suffered, inter alia, a loss of income and employment, and all of the benefits attendant

thereto, which damages continue at present and which may continue to do so in the foreseeable

future, as well as humiliation, embarrassment, loss of reputation and self-esteem, fear for his

personal safety and that of his family and emotional distress.

        WHEREFORE, plaintiff Steven A. Reese demands, pursuant to all applicable provisions

of the Americans With Disabilities Act of 1990, as amended, 42 U.S.C. §§12101, et seq., that a

judgment be entered in his favor and against defendants, Waterford Hotel Group, Inc. and

Waterford Group, L.L.C., in a sufficient amount to fully compensate him for his compensable
                                                  37
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 43 of 45




losses, along with attorney fees, punitive damages, costs and such other relief as Your Honorable

Court deems just and appropriate.

                                         COUNTV
                            PLAINTIFF v. ALL DEFENDANTS
           Violation of Pennsylvania's Human Relations Act of 1955, as amended,
                             43 Pa.C.S. §§951 to 963 ("PHRA")

        210.      Plaintiff hereby incorporates by reference all other paragraphs of his complaint

as though more fully set forth at length herein.

        211.      Subsequent to receiving treatment in June 2014, plaintiff was ready, willing

and able to return to work as of on or about July 10, 2014.

        212.      As of July 10, 2014, plaintiff was sober and not ingesting any addictive

medications.

        213.      As of July 10, 2014, plaintiff was disabled, as that term is defined in the

PHRA.

        214.      Despite said disability, plaintiff was able to perform all major life activities,

including working, with or without a reasonable accommodation.

        215.      As of July 10, 2014, and at all relevant times thereafter, defendants

(incorrectly) believed that because plaintiff had a disability, he was unable to perform all major

life activities, such as, inter alia, working, with or without a reasonable accommodation.

        216.      As a result of their incorrect belief that persons with disabilities such as that

disability suffered by plaintiff could not perform their job duties, defendants subjected plaintiff

to demotion, disparate treatment as compared to other employees who were not disabled, a

hostile work environment, termination and/or constructive discharge.




                                                   38
        Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 44 of 45
                                  ''



       217.       As of July 10, 2014, and at all relevant times thereafter, defendants regarded

plaintiff as disabled, and believed he was as a consequence thereof unable to perform all major

life activities, such as, inter alia, working, with or without a reasonable accommodation.

       218.       Because defendants regarded plaintiff as disabled, and unable to perform major

life activities such as, inter alia, working, with or without a reasonable accommodation,

defendants subjected plaintiff to demotion, disparate treatment as compared to other employees

they did not regard as disabled, a hostile work environment, termination and/or constructive

discharge.

       219.       As set forth hereinabove, the individual defendants herein aided and abetted

the employer defendants' discriminatory actions and inactions, which were the result of animus

directed against plaintiff on account of disability and/or perceived disability, which defendants

incorrectly believed rendered plaintiff incapable of performing his job with or without a

reasonable accommodation.

       220.       Due to the aforesaid conduct of defendants, plaintiff suffered, inter alia, a loss

of income and employment, and all of the benefits attendant thereto, which damages continue at

present and which may continue to do so in the foreseeable future, as well as humiliation,

embarrassment, loss of reputation and self-esteem, fear for his personal safety and that of his

family and emotional distress.

       WHEREFORE, plaintiff Steven A. Reese demands, pursuant to all applicable provisions

of the Pennsylvania's Human Relations Act of 1955, as amended, 43 Pa.C.S. §§951 to 963, that a

judgment be entered in his favor and against defendants, Waterford Hotel Group, Inc., Waterford

Group, L.L.C., Mary Culbert, Peter Campanini and Judith Moran, in a sufficient amount to fully

compensate him for his compensable losses, along with attorney fees, costs and such other relief

as Your Honorable Court deems just and appropriate.
                                                 39
       Case 2:16-cv-05446-BMS Document 1 Filed 10/17/16 Page 45 of 45




October 17, 2016           GALLAGHER LA



                           BY:

                                 Counsel for Plainti
                                 1055 Westlakes Drive, 3rd F
                                 Berwyn, PA 19312
                                 (610) 647-5027
                                 (610) 647-5024 (fax)
                                 jag@johnagallagher.com




                                       40
